              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

 CAMILLE FEHRING,

                          Plaintiff,
                                                      Case No. 21-CV-1-JPS

 v.

 SHOREWOOD SCHOOL DISTRICT,                     TRIAL SCHEDULING
                                                           ORDER
                          Defendant.


      In order that the above-captioned litigation—now pending since

January 2021—be brought to conclusion, the following proceedings have

been scheduled before the Honorable J.P. Stadtmueller in the United States

District Court for the Eastern District of Wisconsin, Room 425 United States

Courthouse, 517 East Wisconsin Avenue, Milwaukee, Wisconsin, 53202:

      FINAL PRETRIAL
      CONFERENCE:    Tuesday, August 9, 2022 at 8:30 AM

      JURY TRIAL:          Monday, August 15, 2022 at 8:30 AM

      DISPOSITIVE
      MOTIONS DUE:         Friday, April 1, 2022

      IT IS ORDERED that counsel for the parties confer forthwith to

address the substantial work necessary for the orderly preparation of the

case for trial, including the preparation of a comprehensive pretrial report.

Toward that end, all counsel who will actually try this case must meet and

confer in person with the goal of jointly preparing a single final pretrial

report, the principal burden for the filing of which rests with counsel for




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the plaintiff. The Court further requires that the principal attorney for each

party attend the final pretrial conference in person.

       If dispositive motions are contemplated, the parties are ordered to

meet and confer prior to filing such a motion in order to create one single,

agreed-upon statement of facts to submit to the Court. For summary

judgment motions, the parties must meet and confer at least 30 days prior

to filing the motion. The agreed-upon statement of facts must contain

pinpoint citations to the record. Any disputed facts must be itemized and

supported by each parties’ separate pinpoint citation to the record. Itemized

disputed facts may not exceed one (1) page. In order to determine which

facts are material for a given case, counsel must identify relevant jury

instructions early-on. If the parties cannot agree upon a set of facts, or if any

of the disputed facts are material, then summary judgment is not

appropriate. Fed. R. Civ. P. 56(a). In short, simply because an attorney can

submit a motion for summary judgment does not mean that they should.

       If the parties do submit motions for summary judgment, they must

operate within certain constraints. Parties may cite no more than ten (10)

cases per claim on which the party moves for summary judgment;

responses are also limited to ten (10) cases per claim. Reply briefs must

conform with Civil Local Rule 56(b)(3) and may not address issues beyond

the scope of the opposition brief. Additionally, though it should go without

saying, the parties must have actually read the cases to which they cite. No

string citations will be accepted.

       Similarly, if the defendant contemplates a motion to dismiss, the

parties must meet and confer before the motion is filed. The defendant

should take care to explain the reasons why they intend to move to dismiss

the complaint, and the plaintiff should strongly consider filing an amended
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complaint. The Court expects this exercise in efficiency will obviate the

need to file most motions to dismiss. Indeed, when the Court grants a

motion to dismiss, it also grants leave to amend; therefore, it is in both

parties’ interest to discuss the matter prior to motion submissions. Briefs in

support of, or opposition to, motions to dismiss should cite no more than

ten (10) cases per claim. No string citations will be accepted.

       Consistent with the facts and law applicable to the case, the final

pretrial report must separately address each of the nine (9) enumerated

items found in Civil L. R. 16(c)(1). The final pretrial report must be

electronically filed no later than 2:00 PM on Wednesday, August 3, 2022. In

addition, a hard copy of the report bearing the original inked signatures of

counsel who will actually try the case must be delivered to the Court’s

chambers, along with three (3) USB thumb drives, each containing a

complete, consolidated set of the parties’ exhibits, including all documents

and a photograph of each physical exhibit. The documents included on the

thumb drives must be text-searchable. The signed pretrial report and

thumb drives must also be delivered to the Court’s chambers by 2:00 PM

on Wednesday, August 3, 2022.

       In preparing the final pretrial report, counsel and their respective

clients should carefully read and study with care each of the following ten

(10) mandatory requirements:

   1. All exhibits must be marked and sequentially numbered in
      accordance with the procedure outlined in General L. R. 26. All
      exhibits must be disclosed, either in paper or electronic format, to
      opposing counsel prior to the final pretrial conference. Given that
      the parties must produce their exhibits to the Court in electronic
      format, the Court encourages the parties to utilize electronic transfer
      for their own exchange. If an identical exhibit is to be used jointly by
      the parties during the course of trial, the exhibit should only be

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    marked once, whether by the plaintiff or defendant, and introduced
    into evidence once, whether by one party or jointly. Further, counsel
    for the parties must jointly prepare a single exhibit list. This exhibit
    list should be prepared using the “Exhibit and Witness List” form
    (AO-187) found on this District’s website on the “All Forms” page.
    The plaintiff’s exhibits should be listed first, in numerical order,
    followed immediately by the defendant’s exhibits, in numerical
    order, and thereafter followed by a listing of the parties’ witnesses.
    The completed form should be e-mailed to the Court’s proposed
    order mailbox at the time the pretrial report is electronically filed.

 2. In designating an exhibit for trial, the designating party must have a
    good-faith basis to believe the exhibit will actually be necessary for
    use at trial.

 3. Save for essential physical exhibits, all evidence is to be presented in
    an electronic format. The parties should be mindful of this
    requirement during the discovery process. After the final pretrial
    conference is concluded, the Court’s information technology staff
    can provide a tutorial on interfacing with the Court’s electronic
    presentation system. The only printed copies of exhibits that should
    be brought to the courtroom for trial are: (a) those created for the
    parties’ own use at counsel’s table, and (b) a single copy of each
    exhibit for the Court to provide to the jury for its deliberations (if
    necessary).

 4. A brief summary of the elements underlying each claim and defense
    to be adjudicated must be included in the final pretrial report and
    inserted immediately preceding the parties’ joint proposed jury
    instructions.

 5. Each of the parties’ agreed proposed jury instructions as well as the
    proposed verdict form must be appropriately tailored to the facts
    and law applicable to the case. Therefore, each proposed instruction
    as well as the verdict form must be edited and formatted precisely
    as counsel would expect the instruction(s) and verdict to be
    submitted to the jury. Simple citations to form book instructions or
    verdict questions without more is wholly unacceptable. This branch
    of the Court has a longstanding policy of utilizing the Federal Civil
    Jury Instructions of the Seventh Circuit, to the extent they are
    applicable to the facts and legal issues attendant to the parties’ claims

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    and defenses. If no Seventh Circuit instruction addresses the relevant
    issues, the Court generally relies on secondary authority, including
    O’Malley’s Federal Jury Practice and Instructions, and Matthew
    Bender’s Modern Federal Jury Instructions.

 6. In the event the parties are unable to agree upon a particular
    instruction or question in the verdict form in its entirety, counsel
    must include the separate proposed instruction(s) and/or verdict
    question(s) as part of the final pretrial report submissions. At the
    same time, each separately proposed instruction or proposed verdict
    question must be supported by a memorandum of law and, if
    appropriate, an offer of proof prepared by counsel for the party
    proposing the instruction and/or verdict question. The final pretrial
    report must also include a memorandum of law and, if appropriate,
    an offer of proof prepared by counsel for the party opposing the
    particular instruction and/or verdict question. To be clear, absolutely
    all briefing both in support of and in opposition to a proposed
    instruction or verdict question must be included in the final pretrial
    report. In accordance with Civil L. R. 7(d), failure to file a
    memorandum in opposition to a particular instruction or verdict
    question will be deemed by the Court to be sufficient cause to grant
    the requested instruction or verdict question. The Court
    contemplates that the joint drafting process for the instructions and
    verdict form, like the rest of the final pretrial report, will be
    conducted by counsel in person so that their differences on the
    instructions and verdict form may be fully and candidly discussed.
    Joint drafting also ensures that the parties will present concise
    arguments based on the actual, not anticipated, positions of their
    opponents.

 7. Absent exceptional circumstances, motions in limine must be filed
    on or before Friday, July 29, 2022. Each motion should consist of one
    jointly drafted document signed by counsel for both parties. The
    motion should begin with a statement of the issue presented and a
    brief, neutral recitation of the relevant facts. The movant should then
    offer its arguments in favor of the motion, followed by the non-
    movant’s responses thereto. The Court contemplates that this joint
    drafting process will be conducted by counsel in person so that their
    differences on the subjects of the motions may be fully and candidly
    discussed. Joint drafting also ensures that the parties will present

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       concise arguments based on the actual, not anticipated, positions of
       their opponents.

   8. All Daubert motions must be filed on or before Friday, July 29, 2022.
      Each motion should be accompanied by a brief supporting
      memorandum of law. Responses to any such motions must be filed
      within seven (7) days. No reply briefs are permitted. As with the
      motions in limine, the Court expects that the parties will confer in
      person prior to the filing of Daubert motions and fully explore their
      respective positions, so that the motions themselves will focus only
      on the precise areas of disagreement.

   9. As officers of the court, counsel have an obligation to discuss the
      anticipated filing of pretrial motions directly with opposing counsel,
      as more often than not such matters are best resolved informally
      with open communications between counsel without the necessity
      of court intervention. The Court notes that to discuss requires actual
      discussion with suggestions for genuine compromise, as opposed to
      mere e-mail wars of words between opposing counsel. Therefore,
      when filed, all pretrial motions must include a separate certification1
      prepared by movant’s counsel stating that, after personal
      consultation with counsel for the party opposed to the motion, and
      sincere attempts to resolve their differences, the parties are unable to
      reach an accord. The certification must also recite the dates and times
      of such conferences and the names of all participants. To be clear, the
      Court expects the parties to confer several times and document those
      conferences before raising a pretrial motion before the Court. The
      failure to comply with the letter or the spirit of this rule will be
      sufficient grounds to deny the motion.

   10. With regard to memoranda of law submitted to the Court in
       reference to disputed jury instructions or verdict questions, or a
       pretrial motion, the Court makes the following suggestions which
       will serve to aid the Court in efficiently addressing such matters:

           a. If the parties intend to file deposition testimony, the parties
              should e-file a single transcript of the deposition testimony of
              each witness upon which they intend to rely. Any party citing

       1 The certification that must be filed with a pretrial motion must be
docketed as a separate docket entry and should not be hidden within a motion or
a brief.
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             to a given deponent’s testimony should cite only to the docket
             entry containing said deponent’s testimony, enabling the
             Court to easily locate that deposition, instead of engaging in
             an archeological dig to locate the source from which the
             specific excerpt may have been drawn.

          b. Any exhibit or report submitted in support of or in opposition
             to a party’s position should be e-filed in its entirety in a single
             entry, and any party citing to an exhibit or report should cite
             only to the one entry containing said report.

          c. All parties should agree on a given citation system. No party
             should refer to a document by a different moniker than that
             by which the other parties refer to the same document. The
             Court strongly encourages the parties to include the docket
             number (and, if applicable, exhibit letter/number) of
             documents cited in their submissions. The Court also
             encourages the parties, if they are filing numerous exhibits as
             attachments to their motions, to include an index attached to
             the motion that notes the title of the exhibits that follow.
             When viewing the electronic docket, it should be obvious
             which documents are responsive (or in support of) another
             document, as well as the identity of such other document.

          d. All documents submitted to the Court electronically should
             be in an electronically searchable format. If any documents
             are filed under seal, a thumb drive containing electronically
             searchable PDF versions of the files should be provided to the
             Clerk’s office so that the Court will have access to all the
             documents, including those filed under seal, in an
             electronically searchable format.

          e. Counsel shall not deliver additional courtesy copies of
             submissions to the Judge’s chambers unless specifically
             directed to do so in accordance with the terms of this order.

      As the parties and their counsel endeavor to complete their work

associated with the preparation of the final pretrial report, they are

expected to confer in a candid, open manner, and make a good faith effort

toward settlement of the case in its entirety, and should they be unable to

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fully settle their differences, agree upon stipulations of ultimate fact or

otherwise narrow the issues that, in the end, will aid the Court in

conserving its limited resources.

       In recognition of the Court’s limited resources, and an ever

burgeoning case load assigned to this branch of the Court, together with the

continued escalating costs associated with litigation generally, the Court

finds it prudent to require that counsel and their respective clients seriously

undertake all appropriate measures including utilization of the services of

a randomly assigned magistrate judge, or another outside third party

neutral agreed upon by the parties, to bring the case to conclusion short of

trial. In the event counsel and their respective clients wish to avail

themselves of the services of the randomly assigned magistrate judge, they

are reminded that, like district judges, magistrate judges have very busy

calendars. Therefore, in order to ensure timely scheduling of one or more

mediation sessions suitably in advance of the scheduled trial date,

appropriate steps must be taken in the event counsel wish to jointly request

that the Court make such a referral.

       Accordingly, the Court finds it prudent to direct that counsel for the

parties confer forthwith to explore settlement, and, if appropriate, utilize

the services of the randomly assigned magistrate judge or other third party

neutral for purposes of conducting one or more settlement conferences.

However, the Court preemptively warns the parties that it will not stay the

trial or other deadlines herein while the parties explore settlement in this

matter. The Court will further direct that counsel for the plaintiff file with

the Court interim and final settlement reports generally summarizing any

progress made as of the report due date, including the date(s) counsel for

the parties actually met and conferred. The interim report must be filed on
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or before Friday, March 25, 2022, and a final report must be filed on or

before Monday, July 25, 2022. Such reports shall be filed using a case

participant only restriction so that access is restricted to the Court and

counsel for the parties. Gen. L. R. 79(d). No separate motion to seal/restrict

the settlement reports is necessary.

       Finally, the Court readily acknowledges and well appreciates the

fact that in this branch preparation of the final pretrial report requires a

substantial commitment of time and resources, and the parties ought not

treat the Court’s directives lightly for in the final analysis adequate

preparation remains the hallmark of an effective advocate, and while every

litigant is entitled to their day in court, they are not entitled to intrude upon

someone else’s day in court.

       Dated at Milwaukee, Wisconsin, this 20th day of July, 2021.

                                    BY THE COURT:




                                    J.P. Stadtmueller
                                    U.S. District Judge




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